     Case 2:15-cv-04123-SSV-JCW Document 64 Filed 08/24/16 Page 1 of 1



                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF LOUISIANA

JORDELLA ROBINSON,                                          CIVIL ACTION
INDIVIDUALLY AND AS A
REPRESENTATIVE OF A CLASS OF
SIMILARLY SITUATED
BORROWERS

VERSUS                                                           NO. 15-4123

STANDARD MORTGAGE                                         SECTION “R” (2)
CORPORATION and STANDARD
MORTGAGE INSURANCE AGENCY,
INC.



                               JUDGMENT

     Considering the Court’s order and reasons on file herein,

     IT IS ORDERED, ADJUDGED AND DECREED that plaintiff Jordella

Robinson’s complaint is hereby dismissed for lack of jurisdiction.

         New Orleans, Louisiana, this _____
                                       24th day of August, 2016.


                     _____________________
                          SARAH S. VANCE
                   UNITED STATES DISTRICT JUDGE
